Case 1:23-mi-99999-UNA Document 2544-2 Filed 08/09/23 Page 1 of 3




                 Exhibit B
                     Case 1:23-mi-99999-UNA Document 2544-2 Filed 08/09/23 Page 2 of 3


                                                                                                             GEORGIA DEATH CERtiFICATE
                                                                                                                                                                                                                           Stata.FHa Number                2022GA000100549
         1, DECEDENT'S LEGAL FULL NAME (Finl!, Middle, Last)
                                                                                                              1
                                                                                                                  1.. IF FEMALE, ENTER I.AST NAME AT BIRTH                                                 12. SEX                    12a. DATE OF DEATH (Mo;, Day, Yur) .
         .ALI~IA SHARES_E'ALSTON . •                                                                              PENNAMON .                                 .                                      ·        FEMALE                   •ACTUAL DATE O.F. DE,ATH 1Z/30/2022
         3. SO_CIAL SECURITY NUMBER                                                                    i,.....
                                                                                                           'b......;;;
                                                                                                                   U__ N.c.DE"-R'--.1--Y.;:;EAR.__.~-,-
                                                                                                                                                      4c.
                                                                                                                                                       ""'""U--
                                                                                                                                                              N..
                                                                                                                                                                D__
                                                                                                                                                                  Ecc
                                                                                                                                                                    R..c.
                                                                                                                                                                       1.cc.D~A__
                                                                                                                                                                               Y _ - I 5. DATE Of BIRTM (Mo,'Day, Year)

                                                                                 45
                                                                                                                    Mas.      I       Daya .          ..II        Houra             ·I .    _Mm .                                 •
         :s. BIRTHPlACE                                              11a. RESIDENCE. STATE                                  1
                                                                                                                             7b.'COUNTY ·                                                                         ,7c. CITY~TOWN
         GEORGIA                                                     'I.GEORGIA                                              CLAYTON                                                    ·                          ELLENWQOD
         7d. STREET AND NUMBER
                                                                                                                                        I    7e. ~IP COOE'.
                                                                                                                                             3(1294
                                                                                                                                                                          . p r. INSIDE CITY LIMITS?
                                                                                                                                                                              I YES
                                                                                                                                                                                                                                       1~,
                                                                                                                                                                                                                                         ARMPJ FORCES? a
                                                                                                                                                                                                                                        NO                        .
        b USUAL OCCUPATION      ,                                                                                           8b; KIND OF INDUSTR~ OR ~USINESS ·
                                                                                                                           1
     : 'sPEci,ALTY.C~RE ~OORDINATOR                                                                                        .HEALTHCA~~ ,          •.
         9, MARITAL STATUS •                                              110.   SPOIJSE ~ E                                                                                                                           111; FATHER'S F\Jl.L _NAME (Firll. Middla. IMO
         MARRIED                ..                                        . JONNIE ALSTON                                                                                                                                  ALI:EN PENNAMON ,                      . . .
             12: ¥0THER"S ~IDEN NAME (flr&t, Midctle, I.alt) · ·                 113~,    INFOR~T'S NAME_(Ars1, Ml~la,l.ut) •                                                  •·                                            1· 13b." RElATIONSHIP TO DECEDENT
         ALICE BODDIE                                                              JASMINEBROWN                                               ' .                                                                             DAUGHTER
         ·13c. MAILING ADDRESS                                                                                                                                                                             114. DECEDEm'
                                                                                                                                                                                                                      . S EDUCATION
     .                                          MCDONOUGH GEORGIA 30253                                               .                                                                                       ASSOCIATE'DEGREE                        _
     . ·15. ORIGIN Of DECEDENT(Spen/sNH/sp,tn/cll.olinoJ                                    •                              J16, DECE0ENr-:, RACE .~ • • BJ.de, Amllrlca11 lll,d/Bn, etc.) (Specjfy)                                               1

         NO,-NOT SPANISH/HISPANIWTINO · •.                                                                                 ·1BLACK -OR AFRICAN-AMERICAN ·                                .
             17a•.lF DEATH.OCCURRED IN HOSPITM:                                                                                   117b. IF DEA
                                                                                                                                            . TH OCCURRED.OTHl,R THAN
                                                                                                                                                                   . HOSPITAL (Speclly)                                                                               .,            •
         INPATU:NT ·                                                                                                                                                                                                                                                                    · ·
         111. t;!OSf;'IJ'AL OR OTHER INSTITUTION NAME (If nor l/1 e/lJlprgl',e WNl afld /JO,)                                                .11e: CITY; TOWN or LOCATION OF DEATH                                                                    120, C~UNTY Of ~EATH
         GRADY MEMO.RIAL HOSPITAL                                                      ., : ..                                               IATi:ANTA                         '                             .                                         FUL:.TON                 .                 .
             21, METHOD OF DISPOSmON {sp,dy}                                     122- PLACE OF OISPO!:>mON                     .              .
                                                                                                                                           -~ . .   .   .                                                                                j 23. DISPOSITION DATE_(Mo., Day. YU;<)
             C~MATIO_N                                                             ~,!" •~o                    CREMATION CARE 11so HWY .,2N_~ A v MCo~GH ~oRBIA                                                                          I0111812023                       •            ..

             24a. EMBALMER'S NAME
             O~IENTHAL~ANDRE HANNAH
                                                                                          I 24b .•~MBALMER LICENS!tNO.· • • 1• 2!5. fUNERAL 110ME NAME
                                                                                            "308                                                                  WATKINS f"UNE~ HOME JONESBORO
                                                                                                                                                                                                                                                       •


             25L FUNERAL HOME ADDRESS
             163 NORTH         AVENUE JONESB_ORO.GEORGIA 30236
             281. SIGNATURE OF FIJNERAL·DIRECTOR                                                                                                       2611. FUN. DIR. Ll~NSE NO                                  AMENDMENTS
                                                                                                                                                  1
             KJMBRiANAWATKINS                                                                                                                         ·5610                         ·
             27. D~TE PRONOUNCED DEAD (Mo., Day, Yeerl                                28. tiO~R PRONOUNCED DEAD
             12/30/2022                                                            118:21 MILITARY .
             29a~PRONOUNCER'S NAME ·. •                              · !.......,...._ -                                    --           · •1?91J~~ICENSE NUMBER '.                                                     -    .p sc.OATE SIGNED
     •
         0
             JONATHAN°NGUYEN .                                                                                                               I ~&3oo                                                                         I 1213012022·
          Jl). TIME OF DEATH                                                                                                           31. WAS CASE REFER~O TO ME?ICAlcEXAM~
         .fa:21 MILITARY •
             32.'Porl L Enllr Ihachain., ----:tnJi,rtao.
             relpi~ IIITHI. Or "9oll1C>lllr ~briJation. - u l ll'dwlng 1/le.UOlogy, CO ~OT A!!B~~"TE.
                                                                          .                        '
                                                                                                             -..i
                                                                                                                    .      '
                                                                                                                                      1
                                                                                                                                       YES
                                                                   ar OOffipltatlana ..... d~ll<lly ..... Ille dHIII; DO HOT ..,.. lllmffill
                                                                                                                                       •
                                                                                                                                                                   e-     ·
                                                                                                                                                                              IU<II n conllac
                                                                                                                                                                                 •
                                                                                                                                                                                                        i,,..,.                       'Ap~xl~o lnlaMII be~ o.noet ~ death •


                                                               A.     GUNSHOT WC)UND OF RIGHT THIGH                                                                                                                                                   ·UNKNOWN
         · IMMEDIATE CAUSE (F1n11I
         .disease o, C011dltlciii 111&ulllng In                                     _ Due 10• ., .. • (IMHq'!"nat d
                                                                                                                                                                                                                                                                                              ;
             IIH~)                                              8,    .
                                                                                          DIHi "'· ., u • c:onoequerv:e or
                                                                                                         '                        (

                                                               c.
                                                                                          0ue1D, or    ••-enc. OI •
                                                      • D.
          Part II. Enter llgnlfieanl c:cr1dlllons conlrlbutlng to death but not rwlaled ID cauae                                         •                        ~3. _WAS AUTOPSY P.ERFORMED1                                  ,34. WERE AUTOPSY FINDINGS AVAIi.ABLE TO
         , givtin·in Part 1A. lffemele: fndica!i, i f ~ n t or/iitthoCClln&O'~ 90 de)IJI of dearh.                                                                                                                             · . COMPLETE THE CAUSE OF DEATH? '

                                                                                                                                                                 YES                                                            .YES

             ·ss.TOBACCO USE CONTRIBllTED TO DEATH                                        136. 1.F FEMALE (range t0-54) PREGNANT                                                            .                     37, .ACCIOE~. SUICIDE. HOt.llCIDE•.UNOETE'.RMINED (Si:i.ecify)
             NO                                                                            NOT PREGNANT WITHIN THE PAST YEAR            HOMICIDE                                                                                              ~                                ,•
             31. ~TE.OF INJURY (Mo.. Day, Year)     1· 3~; TIME. OF·1NJ\J~Y 40. PI.AfE Of' INJURY (Homa, FIIITI\. ,Slrael Factory, Office, Etc.) (Specify)                                                                                :   14_1. l!'IJURY AT WORK? (Yet or No)'
             12/3012022        ,                       10;25 AM         ·    ,RESIDENCE                                                                                                                                                           NO
             42. t:OCATION OF INJURY (SbN( Apaltm'1tlt Number,,Clty or Town, Slafe,'Zip.•Counly/ ' '
             '                                      ~i:i.ENWOciD GEORGIA 30294 CLAYTON .                                                          ,
         ·43, f?ESCRIBE HOW INJURY OCCURRED                                                                                                            , ~;_,.-:,,;.,;hj'~_,J,                             4-4 . FJRANSPORTATION ":'JURY
             SHOT BY OTHER (S                                                                                                            ..:::_,..r.~~\ ::,~a•~•.,;.1.,-; NO                                              .
             45: To the bell of my knowletf9e dNlh occ111red al the ~me, date and place
             'i ndi1uelo lhe caus.{s} slate(j.- Me'dlC;BI Cel\lfl~ (Name, TIiie. License ~o.)



             :4sa. DATE S~NED [Mo~ Day, Year)                         •   I~-    HOUR OF _
                                                                                      -
                                                                                         gEATH               S . _: .' ~·DAT~E !?IGNE_D Dey, '!"'
                                                                                                                     0~/21>12023 .A,.
                                                                                                                           ;_:;
                                                                                                                                              .·: i' i:;,
                                                                                                                                                             1
                                                                                                                                                              48b. HOUFI OF DEATH
                                                                                                                                          · ·~" •:: . 16;21.MILITARY .
                                                                                                                                                                               (Mo.,


             .47: NAME, ADDRESS; ANO ZIP CODE Of' PERSON COMPLETING                                CAUSE OF !J!!,e.. , ·~       _!.r~-:,:    ~- ~    ;;::;.;
             BRIAN BYARS !~J1 N ~cooNi>UG':f s~_EET-JONESBORO GEOR~ ~!&-     :~~ _                                                                                                  E .:..,-..':i~ .S·
             48.REGISTRAR   JS/ CHRISTOPHER JP HARRISON           ~;;-;.~-:. , -~"".=-=-.-.~"'.-.-3:~"':
                                                                                                     {"~,.,.,~~ ,~...f~,4-::9-. -::-
                                                                                                                                OA  - :T::E:--cFc-ll.-E
                                                                                                                                                      :-D- --R-EG
                                                                                                                                                                -::-
                                                                                                                                                                 .1 -S
                                                                                                                                                                     =--____R_ (Mo
                                                                                                                                                                      TRA       - .,-=        ----
                                                                                                                                                                                     D-a~-, -v..,J- ~ - - - - J
             (Slgnalin)                                                                                                               o1:;   ~a•.~--·.,.. ~~-6.'\}., ~ I 011231202_3
             Form ~3 (Rav. 04/2012). GEORGIA DEPARTMENT OF PUBLIC HEAL TH



..
Case 1:23-mi-99999-UNA Document 2544-2 Filed 08/09/23 Page 3 of 3
